                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION

UNITED STATES OF AMERICA            )
                                    )
                                    )
            vs.                     )     NOTICE OF APPEARANCE
                                    )
                                    )     Docket No. 1:19CR64
ELLEN MADANS FROST,                 )
                  Defendant.        )
______________________________________________________________________________

       NOW COMES Anthony G. Scheer, and hereby gives notice of general appearance in the

above-captioned matter. Counsel will represent the Defendant in all District Court proceedings.

Should either party subsequently enter notice of appeal, Counsel does not, by this Notice, make

an appearance for such appellate proceedings.

       This the 16th day of July, 2019




                                                      __________________________________
                                                                    s/ANTHONY G. SCHEER
                                                                               NC Bar # 19257
                                                                    Attorney for the Defendant
                                                         Rawls, Scheer, Clary, & Mingo, PLLC
                                                          1011 East Morehead Street, Suite 300
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                                CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that he has, this day, served a copy of the
attached Notice on the parties listed below by ECF Notification system at the email address
listed below.


               AUSA Richard Edwards
               United States Attorney’s Office – WDNC
               233 U.S. Courthouse Bldg.
               100 Otis St.
               Asheville, NC 28802
               Richard.edwards2@usdoj.gov


       This the 16th day of July, 2019.


                                                       __________________________________
                                                                     s/ANTHONY G. SCHEER
                                                                                NC Bar # 19257
                                                                     Attorney for the Defendant
                                                          Rawls, Scheer, Clary & Mingo, PLLC
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